         Case 1:20-cv-02040-CRC Document 23 Filed 10/09/20 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 DON’T SHOOT PORTLAND et al.,
                         Plaintiffs,
        v.
                                                    Case No. 1:20-cv-2040-CRC
 CHAD F. WOLF, in his official capacity as
 Acting Secretary of Homeland Security,
                         Defendant.


  DEFENDANTS’ CONSENT MOTION FOR EXTENSION OF ANSWER DEADLINE
       Defendants move the Court for a brief, two-day extension of time to answer Plaintiff’s

Complaint (ECF No. 1), from Tuesday, October 13, 2020, to Thursday, October 15, 2020.

       Good cause exists to grant this consent motion. This and other matters involving recent

events in Portland have imposed near-contemporaneous deadlines and have greatly increased the

press of business for counsel assigned to those matters, even as the staffing of those matters has

changed. The current deadline also follows a holiday weekend, during which some counsel for

Defendants are unavailable. Defendants ask only for a two-day extension of the current deadline,

to which Plaintiffs consent.

       For these reasons, Defendants move the Court for an extension of Defendants’ answer

deadline until Thursday, October 15, 2020.

Dated: October 9, 2020                       Respectfully submitted,

                                             JEFFREY BOSSERT CLARK
                                             Acting Assistant Attorney General

                                             BRIGHAM BOWEN
                                             Assistant Branch Director

                                             /s/ Joshua E. Gardner
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                                                1
Case 1:20-cv-02040-CRC Document 23 Filed 10/09/20 Page 2 of 2




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